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3:08cr46-005LAC - SCOTT KERLE, a/k/a “Killer”, a/k/a “Curtis”
                                       UNITED STATES DISTRICT COURT
                                       NORTHERN DISTRICT OF FLORIDA
                                            PENSACOLA DIVISION

UNITED STATES OF AMERICA

-vs-                                                               Case # 3:08cr46-005LAC

SCOTT KERLE, a/k/a “Killer”, a/k/a “Curtis”
                                                                   USM # 06981-017

                                                                   Defendant’s Attorney:
                                                                   Clinton Couch (Appointed)
                                                                   3 West Garden Street, Suite 307
                                                                   Pensacola, Florida 32502
___________________________________
                           JUDGMENT IN A CRIMINAL CASE
The defendant pled guilty to Counts One and Two of the Indictment on June 23, 2008.
Accordingly, IT IS ORDERED that the defendant is adjudged guilty of such counts which involve
the following offenses:
       TITLE/SECTION                                  NATURE OF                        DATE
          NUM BER                                      OFFENSE                     OFFENSE            COUNT
                                                                                    CONC LUDED

21 U.S.C. §§ 841(a)(1),               Conspiracy to Possess with Intent to           May 20, 2008       One
(b)(1)(A)(ii), (b)(1)(A)(vii), and    Distribute Five (5) Kilograms or More of a
846                                   Mixture and Substance Containing a
                                      Detectable Amount of Cocaine and One-
                                      Thousand (1,000) Kilograms or More of a
                                      Mixture and Substance Containing a
                                      Detectable Amount of Marijuana

21 U.S.C. § 841(b)(1)(A)(ii)          Possession with Intent to Distribute Five      April 2, 2007      Two
and (b)(1)(B)(vii)                    (5) Kilograms or More of a Mixture and
                                      Substance Containing a Detectable
                                      Amount of Cocaine and One-Hundred
                                      (100) Kilograms or More of a Mixture and
                                      Substance Containing Marijuana

The defendant is sentenced as provided in the following pages of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984, including amendments effective
subsequent to 1984, and the Sentencing Guidelines promulgated by the U.S. Sentencing
Commission.

IT IS FURTHER ORDERED that the defendant shall notify the United States attorney for this
district within 30 days of any change of name, residence, or mailing address until all fines,
restitution, costs and special assessments imposed by this judgment are fully paid.

                                                                   Date of Imposition of Sentence:
                                                                   September 9, 2008
                                                                   s /L.A. Collier
                                                                   LACEY A. COLLIER
                                                                   SENIOR UNITED STATES DISTRICT JUDGE

                                                                   September 16, 2008
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                                                    IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of 135 months as to Counts One and Two, with Counts to run
concurrently one with the other.

          The defendant is remanded to the custody of the United States Marshal.




                                                         RETURN

I have executed this judgment as follows:




Defendant delivered on ____________________ to _________________________________

at _____________________________________________, with a certified copy of this judgment.


                                                                  __________________________________
                                                                        UNITED STATES MARSHAL


                                                                By:__________________________________
                                                                            Deputy U.S. Marshal
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3:08cr46-005LAC - SCOTT KERLE, a/k/a “Killer”, a/k/a “Curtis”
                                              SUPERVISED RELEASE

        Upon release from imprisonment, the defendant shall be on supervised release for a term
of Five Years as to Counts One and Two, with Counts to run concurrently one with the other.

       The defendant shall report to the probation office in the district to which the defendant is
released within 72 hours of release from custody of the Bureau of Prisons.

        The defendant shall not commit another federal, state, or local crime and shall not possess
a firearm, destructive device, or any other dangerous weapon.

        The defendant shall not unlawfully possess a controlled substance. The defendant shall
refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug
test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as
determined by the court.

          The defendant shall cooperate in the collection of DNA as directed by the probation officer.

                              STANDARD CONDITIONS OF SUPERVISION

      The defendant shall comply with the following standard conditions that have been
adopted by this court.

1.        The defendant sh all not leave the ju dicial distric t without the permission of the court or probation
          officer;

2.        The defendant shall report to the p roba tion officer and shall submit a truthful and complete written
          report within the first five days of each month;

3.        The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions
          of the probation officer;

4.        The defendant shall support his or her dependents and meet other family responsibilities;

5.        The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for
          schooling, training, or other acceptable reasons;

6.        The defendant shall notify the probation officer at least 10 days prior to any change in residence or
          em ploym ent;

7.        The defendan t shall refrain from e xcess ive use of alcohol and shall not purchase, possess, use,
          distribute, or adm inister any controlled substance or any paraphernalia related to any controlled
          substances, except as prescribed by a physician;

8.        The defendant sh all not frequent places w here controlled substa nces are illegally sold , used,
          distributed, or administered;

9.        The defendant shall not associate with any persons engaged in criminal activity and shall not
          ass ociate with any person convicted of a felony unless granted permission to do so by the probation
          officer;
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10.       The defendant shall permit a probation officer to visit him or her at any time at hom e or elsewhere and
          shall permit confiscation of any contraban d observe d in plain view of the proba tion officer;

11.       The defendant shall notify the probation officer within 72 hours of being arrested or questioned by
          a law enforcem ent officer;

12.       The defe nda nt shall not en ter into a ny agreem ent to act as an informer or a special agent of a law
          enforcement agency without the permission of the court; and

13.       As directed by the probation officer, the defendant shall notify third parties of risks that may be
          occasioned by the defendant’s criminal record or personal history or characteristics and shall perm it
          the probation officer to mak e such notifications and to confirm the defendant’s compliance with such
          notifica tion req uirem ent.

14.       If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervision that the
          defendant pay any such fine or restitution in accordance with the Schedule of Paym ents s et forth in
          the C rim inal Mone tary Penalties she et of this judg m ent.

                     ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

          The defendant shall also comply with the following additional conditions of supervised
          release:

          The defendant shall participate in a program of drug treatment which may include testing
          to determine if the defendant is using drugs.

          The defendant shall cooperate with the Probation Department and/or any state agency
          responsible for the establishment and enforcement of child support payments. Additionally,
          he shall make all required child support payments.

          The defendant shall actively seek and/or maintain full time legal employment or enroll in a
          full time educational or vocational program.
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       Upon a finding of a violation of probation or supervised release, I understand the Court may
(1) revoke supervision, (2) extend the term of supervision, and/or (3) modify the conditions of
supervision.
       These conditions have been read to me. I fully understand the conditions and have been
provided a copy of them.




          Defendant                                                       Date




          U.S. Probation Officer/Designated Witness                       Date
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                                     CRIMINAL MONETARY PENALTIES


         All criminal monetary penalty payments, except those payments made through the Bureau
of Prisons’ Inmate Financial Responsibility Program, are to be made to the Clerk, U.S. District
Court, unless otherwise directed by the Court. Payments shall be made payable to the Clerk, U.S.
District Court, and mailed to 111 N. Adams St., Suite 322, Tallahassee, FL 32301-7717. Payments
can be made in the form of cash if paid in person.

        The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in the Schedule of Payments. The defendant shall pay interest
on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full before the
fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment
options in the Schedule of Payments may be subject to penalties for default and delinquency
pursuant to 18 U.S.C. § 3612(g).

                                                         SUMMARY
           Special
     Monetary Assessment                                        Fine                Restitution

                $200.00                                         $0                      $0




                                    SPECIAL MONETARY ASSESSMENT

A special monetary assessment of $200.00 ($100.00 each count) is imposed and is to be
paid immediately.

No fine imposed.
No restitution imposed.
